     Case 1:21-cv-00359-BLW         Document 181   Filed 02/19/25   Page 1 of 7




                       UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF IDAHO


 GERALD ROSS PIZZUTO, JR.,
                                              Case No. 1:21-cv-00359-BLW

        Plaintiff,                            MEMORANDUM DECISION AND
                                              ORDER
        v.

 JOSH TEWALT, Director, Idaho
 Department of Correction, in his official
 capacity, TIMOTHY RICHARDSON,
 Warden, Idaho Maximum Security
 Institution, in his official capacity,

        Defendants.



                                  INTRODUCTION

      Before the Court is Defendants’ Motion to Vacate Notices of Deposition for

Medical Team Leader and Central Line Volunteer (Dkt. 175). For the reasons

described below, the Court will decline to vacate the noticed depositions but will

order that they take place remotely and only by audio.

                                   BACKGROUND

      The facts are familiar and need not be repeated here. Plaintiff Gerald Ross

Pizzuto, Jr. brought this as-applied Eighth Amendment challenge to prevent the

Idaho Department of Corrections (IDOC) from executing him using pentobarbital.


MEMORANDUM DECISION AND ORDER - 1
      Case 1:21-cv-00359-BLW      Document 181      Filed 02/19/25   Page 2 of 7




He argues that his constellation of medical conditions together with systemic flaws

in IDOC execution protocols cause an unconstitutional risk of serious and

unnecessary pain.

      Since discovery began in October 2022, the Court has addressed a myriad of

disputes between the parties. Two recurring issues are the relevance of the botched

attempt to execute Thomas Creech in February 2024 and the scope of the IDOC’s

interest in keeping secret the identities of those involved in the execution process.

Defendants’ Motion to Vacate again raises these concerns.

      In October 2024, Pizzuto issued notices to depose two confidential members

of the IDOC’s execution team: the Medical Team Leader and Central Line

Volunteer. The Medical Team Leader is responsible for inserting the peripheral IV

line. Dkt. 175-7 at 7. If that fails—as happened at Creech’s execution attempt—the

Central Line Volunteer instead establishes vein access through a central line,

which involves threading a catheter through deep veins. See Dkt. 175-8 at 5-6.

Idaho law shields the identities of both individuals. Idaho Code § 19-2716A(4).

While the state statute does not create a federal evidentiary privilege, this Court

has recognized that disclosure of the identities of the execution team would pose an

undue burden on Defendants. See Dkt. 88 at 15-23.

      The deposition notices instruct the Medical Team Leader and Central Line

Volunteer to appear in person at the offices of the Capital Habeas Unit of the


MEMORANDUM DECISION AND ORDER - 2
      Case 1:21-cv-00359-BLW       Document 181     Filed 02/19/25    Page 3 of 7




Federal Defender Services of Idaho. Dkt. 175-4, 175-5. To preserve the deponents’

anonymity, Pizzuto proposes referring to them only by title. See Dkt. 177-2.

Defendants argue that this is insufficient to protect their identities. Defendants ask

the Court to vacate the deposition notices entirely or, in the alternative, impose a

protective order limiting the scope of questioning and requiring the deposition to

be remote and audio-only. Dkt. 175-1.

                               LEGAL STANDARD

      Under the Federal Rules of Civil Produce, a party “may obtain discovery

regarding any nonprivileged matter that is relevant to any party’s claim or defense

and proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1). This applies

equally to information possessed by non-parties, who can be compelled to produce

evidence. Shoen v. Shoen, 5 F.3d 1289, 1292 (9th Cir. 1993). “This broad right of

discovery is based on the general principle that litigants have a right to ‘every

man’s evidence,’ and that wide access to relevant facts serves the integrity and

fairness of the judicial process by promoting the search for the truth.” Id. (citing

United States v. Bryan, 339 U.S. 323, 331 (1950)).

      Within these general parameters, district courts have significant discretion to

prohibit or limit discovery. Sablan v. Dep’t of Fin. of Com. of N. Mariana Islands,

856 F.2d 1317, 1321 (9th Cir. 1988). For “good cause,” the court may “issue an

order to protect a party or person from annoyance, embarrassment, oppression, or


MEMORANDUM DECISION AND ORDER - 3
      Case 1:21-cv-00359-BLW      Document 181      Filed 02/19/25   Page 4 of 7




undue burden or expense,” including by restricting the scope of discovery or

forbidding the disclosure altogether. Fed. R. Civ. P. 26(c)(1). This decision

requires the court to balance the requesting party’s need for the evidence against

the harm that disclosure may have on the objecting party. See Dkt. 88 at 19.

                                    ANALYSIS

      At the outset, the Court rejects Defendants’ request to vacate the deposition

notices. Such a remedy is warranted only in extraordinary circumstances, and

Defendants have not come close to showing that a prohibition is justified. See

Salter v. Upjohn Co., 593 F.2d 649, 651 (5th Cir. 1979) (“It is very unusual for a

court to prohibit the taking of a deposition altogether and absent extraordinary

circumstances, such an order would likely be in error.”); Apple Inc. v. Samsung

Elecs. Co., 282 F.R.D. 259, 263 (N.D. Cal. 2012) (“[A] party seeking to prevent a

deposition ‘carries a heavy burden to show why discovery should be denied.’”).

While Defendants raise legitimate points about anonymity, these can easily be

addressed through restrictions on the means of the deposition. The Court will

discuss the anonymity issue after considering Defendants’ other objections.

      Defendants opine that the depositions will not produce relevant evidence and

are disproportionate to the needs of the case. Their logic is that Pizzuto’s claim

revolves around the possibility that his medical conditions and medication history

will interfere with the efficacy of pentobarbital, and neither the Medical Team


MEMORANDUM DECISION AND ORDER - 4
      Case 1:21-cv-00359-BLW      Document 181      Filed 02/19/25   Page 5 of 7




Leader nor Central Line Volunteer can shed light on this risk. Further, Defendants

contend, to the extent that the witnesses can provide evidence about the failure to

insert an IV line at Creech’s execution, this information is irrelevant because

Pizzuto is a different person with different medical circumstances. Defs.’ Mem. at

8-10, Dkt. 175-1.

      These arguments fail. To start, Pizzuto’s complaint is not limited to the risk

of pharmacological complications. The complaint also includes extensive

allegations regarding peripheral vein access, the qualifications of the Medical

Team, and problems with the insertion of a central line. The Medical Team Leader

and Central Line Volunteer can both speak directly to these issue—and, moreover,

likely have information that no other witness could provide. As Pizzuto points out,

“It is difficult to imagine more obviously relevant witnesses in a lethal-injection

lawsuit than the people who will be directly inserting the needles into the inmate’s

veins.” Pl.’s Resp. at 6, Dkt. 177. And the bald assertion that IDOC team members

are qualified does not diminish Pizzuto’s interest in obtaining this evidence. See

Dkt. 178 at 9 (“Defendants cannot defeat Pizzuto’s claim that their execution

procedures will violate the Constitution by pointing out that they have an

obligation to follow the Constitution.”).

      This facet of relevancy alone would be enough to justify allowing the

deposition to proceed. Nonetheless, the Court will take a moment to address


MEMORANDUM DECISION AND ORDER - 5
      Case 1:21-cv-00359-BLW      Document 181        Filed 02/19/25   Page 6 of 7




Defendants’ contentions about Creech’s botched execution. This is at least the

fourth time in the past year that Defendants have asserted in a discovery dispute

that their failure to execute Creech says nothing about their ability to

constitutionally execute Pizzuto. See Dkt. 158, 160, 178. The line is getting old. As

the Court previously observed, Defendants “strain credulity by asserting that the

IDOC’s recent bungled execution of an individual who shares important

characteristics with Pizzuto has no material bearing on Pizzuto’s case.” Dkt. 158

at 6. The Court finds the argument no more persuasive today.

      Defendants do, however, raise legitimate points about maintaining the

anonymity of the execution team members. The Court agrees that the use of a

pseudonym is insufficient to guard against the risk of disclosure. Idaho is a small

place, geography notwithstanding, and these individuals are members of our

community. It hardly takes a leap of imagination to conclude that an in-person

deposition could end up revealing their identities.

      Fortunately, this risk can be fully mitigated by ordering an audio-only

deposition, done either by telephone or video with the camera turned off. At least

one other court faced with similar secrecy concerns has taken this approach. See

Ringo v. Lombardi, No. 09-4-95-CV, 2010 WL 3310240, at *6 (W.D. Mo. Aug.

19, 2010) (mentioning that the parties agreed to an anonymous telephone

deposition). Further, if Defendants feel that a line of questioning risks the


MEMORANDUM DECISION AND ORDER - 6
     Case 1:21-cv-00359-BLW       Document 181      Filed 02/19/25   Page 7 of 7




disclosure of the witnesses’ identities, counsel can make an objection and instruct

the deponent not to answer, in which case Pizzuto will have the option to bring a

motion to compel. Def.’s Resp. at 4, Dkt. 177.

      Pizzuto suggests that remote depositions are less effective. This is a valid

concern, and Rule 30(b)(4) makes clear that an in-person deposition is the default.

But these benefits are relatively slight, and they do not outweigh the risk of

disclosure from an in-person deposition. Permitting audio-only depositions for

these witnesses appropriately balances Pizzuto’s need for the evidence against the

undue burden posed by the risk of revealing their identities.


                                      ORDER

      IT IS ORDERED that:

      1. Defendants’ Motion to Vacate Notices of Deposition for Medical Team

         Leader and Central Line Volunteer (Dkt. 175) is GRANTED IN PART

         and DENIED IN PART as follows:

             a. The depositions must take place remotely and only by audio.

             b. In all other respects, the motion is denied.

                                              DATED: February 19, 2025


                                              _________________________
                                              B. Lynn Winmill
                                              U.S. District Court Judge


MEMORANDUM DECISION AND ORDER - 7
